      Case 2:23-cv-00142 Document 37 Filed 11/17/23 Page 1 of 8 PageID #: 371


                         UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT CHARLESTON

THE COUNTY COMMISSION OF
FAYETTE COUNTY, WEST VIRGINIA,
Ex Rel. ANTHONY CILIBERTI, ESQ.,
Fayette County Prosecuting Attorney, , and
ANITA STEWART, D.O., Fayette County
Health Officer,


        Plaintiffs,

v.                                                Civil Action No.: 2:22-cv-00441
                                                  Judge Irene C. Berger

GADSEN, GAILLARD, AND WEST, LLC
A South Carolina Limited Liability Company,
and DENNIS EUGENE WEST, an Individual
and Resident of South Carolina,

        Defendants,

and

KANAWHA COUNTY COMMISSION,

        Plaintiff,

v.                                                Civil Action No.: 2:23-cv-00142

GADSEN, GAILLARD, AND WEST, LLC,
DENNIS WEST, and INNOSPEC ACTIVE
CHEMICALS LLC,

        Defendants,

and

INNOSPEC ACTIVE CHEMICALS LLC,

        Cross-Claim Plaintiff/Third-Party Plaintiff,

v.

DENNIS WEST and GADSEN, GAILLARD,
AND WEST, LLC, PINNACLE TRUCKING,
      Case 2:23-cv-00142 Document 37 Filed 11/17/23 Page 2 of 8 PageID #: 372


LLC D/B/A PINNACLE FREIGHT; and
BECKER LOGISTICS, LLC,

        Cross-Claim Defendants/Third-Party Defendants,

and

ANDY KEES, LORA KEES,
CHEYENNE KEES, ANDI DANIELLE
KEES and MARY KEES,

        Plaintiffs,

v.                                                   CIVIL ACTION NO. 2:23-CV-00205

DENNIS WEST; GADSDEN, GAILLARD,
AND WEST, LLC; and INNOSPEC
ACTIVE CHEMICALS LLC,

        Defendants.

and

INNOSPEC ACTIVE CHEMICALS LLC,

        Cross-Claim Plaintiff/Third-Party Plaintiff,

v.

DENNIS WEST and GADSEN, GAILLARD,
AND WEST, LLC, PINNACLE TRUCKING,
LLC D/B/A PINNACLE FREIGHT; and
BECKER LOGISTICS, LLC,

        Cross-Claim Defendants/Third-Party Defendants.

                        STIPUTLATION TO EXTEND
                 TIME TO MAKE RULE 26(A)(2) DISCLOSURES
        FOR PARTIES NOT BEARING THE BURDEN OF PROOF ON AN ISSUE

        COMES NOW Plaintiffs the County Commission of Fayette County, West Virginia, and

Anita Stewart, D.O., Fayette County Health Officer, Ex. Rel.: Anthony Ciliberti, Jr., Esq., Fayette

Co. Prosecuting Attorney, by their counsel Michael Callaghan, Plaintiff, Kanawha County

Commission, by counsel Isaac R. Forman, Esquire, Kayla S. Reynolds, and the law firm Hissam
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    Case 2:23-cv-00142 Document 37 Filed 11/17/23 Page 3 of 8 PageID #: 373


Forman Donovan Ritchie, PLLC, Plaintiffs, Andy Kees, Lora Kees, Cheyenne Kees, Andi

Danielle Kees, and Mary Kees, by counsel D. Scott Tyree and the law firm of Tyree, Embree and

Associates, PLLC, and Defendants Gadsden, Gaillard, and West, LLC and Dennis Eugene West, by

counsel, Gerald M. Titus, David L. Yaussy, and the law firm of Spilman Thomas & Battle, PLLC,

Defendant/Cross-Claim Plaintiff/Third-Party Plaintiff, Innospec Active Chemicals LLC, by

counsel, Stephen M. Fowler, Jacob D. Layne and the law firm of Pullin, Fowler, Flanagan, Brown

& Poe, PLLC, Third-Party Defendant Pinnacle Trucking, LLC d/b/a Pinnacle Freight , by counsel,

Tanya Kesner and the law firm of Kesner & Kesner, PLLC, Third-Party Defendant Becker

Logistics, LLC, by counsel, Michelle L. Gorman, and the law firm of Lewis Brisbois Bisgaard &

Smith, LLP, and pursuant to Rule 29 of the Federal Rules of Civil Procedure and stipulate that the

time for any party not bearing the burden of proof on an issue to make the disclosures required

under Federal Rule of Civil Procedure 26(a)(2)(A)-(C), shall be extended from November 20, 2023

to November 30, 2023.

 /s/ Isaac R. Forman_______                         /s/ D. Scott Tyree
 Isaac R. Forman (WVSB #11668)                      D. Scott Tyree (WVSB #6387)
 Kayla S. Reynolds (WVSB #13268)                    Tyree Embree and Associates, PLLC
 Hissam Forman Donovan Ritchie PLLC                 Hurricane, West Virginia 25526
 707 Virginia Street, Suite 201                     Counsel for Plaintiffs Andy Kees, Lora Kees,
 Charleston, West Virginia 25301                    Cheyenne Kees, Andi Danielle Kees, and
 Counsel for Plaintiff Kanawha County               Mary Kees
 Commission

 /s/ Jacob D. Layne_____                            /s/ Gerald M. Titus III
 Stephen M. Fowler (WVSB #5113)                     Gerald M. Titus III (WVSB #9392)
 Jacob D. Layne (WVSB #11973)                       David L. Yaussy (WVSB #4156)
 Pullin Fowler Flanagan Brown & Poe,                Spilman Thomas & Battle, PLLC
 PLLC                                               300 Kanawha Boulevard, East
 901 Quarrier Street                                P.O. Box 273
 Charleston, WV 25301                               Charleston, West Virginia 25321
 Counsel for Innospec Active Chemicals LLC          Counsel for Defendants Gadsden, Gaillard,
                                                    and West, LLC and Dennis Eugene West




                                                3
   Case 2:23-cv-00142 Document 37 Filed 11/17/23 Page 4 of 8 PageID #: 374


/s/ Tanya M. Kesner                                   /s/ Michelle L. Gorman
Brent K. Kesner (WVSB #2022)                          Michelle L. Gorman (WVSB #7329)
Tanya M. Kesner (WVSB #5162)                          Lewis Brisbois Bisgaard & Smith LLP
Kesner & Kesner, PLLC                                 3054 Pennsylvania Avenue
112 Capitol Street                                    Weirton, West Virginia 26062
Charleston, West Virginia 25329                       Counsel for Third-Party Defendant Pinnacle
Counsel for Third-Party Defendant Pinnacle            Trucking, LLC d/b/a Pinnacle Freight
Trucking, LLC d/b/a Pinnacle Freight


/s/ Michael O. Callaghan
Michael O. Callaghan (WVSB #5509)
Chief Assistant Fayette Co. Prosecuting Atty.
OFFICE OF THE FAYETTE COUNTY
PROSECUTING ATTORNEY
ENVIRONMENTAL & PUBLIC HEALTH
PROTECTION UNIT
c/o NEELY & CALLGAHAN
1337 Virginia Street East
Charleston, WV 25301
Counsel for Plaintiff the County Commission
of Fayette County, West Virginia & Anita
Stewart, D.O., Fayette County Health Officer,
Ex. Rel.: Anthony Ciliberti, Jr., Esq., Fayette
Co. Prosecuting Attorney




                                                  4
      Case 2:23-cv-00142 Document 37 Filed 11/17/23 Page 5 of 8 PageID #: 375


                         UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT CHARLESTON

THE COUNTY COMMISSION OF
FAYETTE COUNTY, WEST VIRGINIA,
Ex Rel. ANTHONY CILIBERTI, ESQ.,
Fayette County Prosecuting Attorney, and
ANITA STEWART, D.O., Fayette County
Health Officer,

        Plaintiffs,

v.                                                Civil Action No.: 2:22-cv-00441
                                                  Judge Irene C. Berger

GADSEN, GAILLARD, AND WEST, LLC
A South Carolina Limited Liability Company,
and DENNIS EUGENE WEST, an Individual
and Resident of South Carolina,

        Defendants,

and

KANAWHA COUNTY COMMISSION,

        Plaintiff,

v.                                                Civil Action No.: 2:23-cv-00142

GADSEN, GAILLARD, AND WEST, LLC,
DENNIS WEST, and INNOSPEC ACTIVE
CHEMICALS LLC,

        Defendants,

and

INNOSPEC ACTIVE CHEMICALS LLC,

        Cross-Claim Plaintiff/Third-Party Plaintiff,

v.




                                              5
      Case 2:23-cv-00142 Document 37 Filed 11/17/23 Page 6 of 8 PageID #: 376


DENNIS WEST and GADSEN, GAILLARD,
AND WEST, LLC, PINNACLE TRUCKING,
LLC D/B/A PINNACLE FREIGHT; and
BECKER LOGISTICS, LLC,

        Cross-Claim Defendants/Third-Party Defendants,
and

ANDY KEES, LORA KEES,
CHEYENNE KEES, ANDI DANIELLE
KEES and MARY KEES,

        Plaintiffs,

v.                                                  CIVIL ACTION NO. 2:23-CV-00205

DENNIS WEST; GADSDEN, GAILLARD,
AND WEST, LLC; and INNOSPEC
ACTIVE CHEMICALS LLC,

        Defendants.

and

INNOSPEC ACTIVE CHEMICALS LLC,

        Cross-Claim Plaintiff/Third-Party Plaintiff,

v.

DENNIS WEST and GADSEN, GAILLARD,
AND WEST, LLC, PINNACLE TRUCKING,
LLC D/B/A PINNACLE FREIGHT; and
BECKER LOGISTICS, LLC,

        Cross-Claim Defendants/Third-Party Defendants.

                                CERTIFICATE OF SERVICE

        The undersigned counsel for Defendant/Cross-Claim Plaintiff/Third-Party Plaintiff Innospec

Active Chemicals, LLC does hereby certify on this the 17th day of November 2023, that a true copy

of the foregoing Stipulation to Extend Time to Make Rule 26(a)(2) Disclosures For Parties Not

Bearing the Burden of Proof on an Issue was served with the Clerk of the Court using the CM/ECF

                                                6
    Case 2:23-cv-00142 Document 37 Filed 11/17/23 Page 7 of 8 PageID #: 377


system which will send notification of such filing to:

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                                       Casey E. Waldeck, Esquire
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                                               Mary Kees

                                        Michael Callaghan, Esquire
                          Chief Assistant Fayette County Prosecuting Attorney
           Office of the Fayette County Prosecuting Attorney, Environmental & Public Health
                                              Protection Unit
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                        West Virginia, Anita Stewart, D.O., Fayette County Health
                              Officer, and Ex Rel Anthony Ciliberti, Esquire

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                                                 7
Case 2:23-cv-00142 Document 37 Filed 11/17/23 Page 8 of 8 PageID #: 378




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                               Lee Murray Hall, Esquire
                                 Jenkins Fenstermaker
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                       Huntington, West Virginia 25726-2688
                   Counsel for Integon National Insurance Company


                                          /s/ Jacob D. Layne____
                                          STEPHEN M. FOWLER (WVSB #5113)
                                          JACOB D. LAYNE (WVSB #11973)




                                      8
